           IN THE UNITED STATES DISTRICT COURT
       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    ASHEVILLE DIVISION
                     1:19 CV 197 MOC WCM

LESLIE E. KLINE, on her own behalf and on            )
behalf of B.A.W. and J.T.W., minors under the        )
age of eighteen and, JEFFERY A. KLINE,               )
on his own behalf,                                   )
                                                     )
                   Plaintiffs,                       )
       vs.                                           )
                                                     )
CLEVELAND COUNTY, a local government                 )
entity; KAREN PRITCHARD, former director             )
of Cleveland County Department of Social             )
Services, in her official and individual capacities; )
KATIE SWANSON, director of Cleveland                 )    PROTECTIVE
County Department of Social Services, in her         )      ORDER
official capacity; TAMARA HARDIN,                    )
Cleveland County Department of Social Services )
Child Protective Services social worker              )
supervisor, in her official and individual           )
capacities; PAM BRIGHT, former Cleveland             )
County Department of Social Services Child           )
Protective Services social worker supervisor,        )
in her official and individual capacities;           )
NICHOLE ALLEN, Cleveland County                      )
Department of Social Services Child Protective )
Services Social Worker, in her official and          )
individual capacities; DEBI REECE, Cleveland         )
County Department of Social Services Child           )
Protective Services social worker, in her official   )
and individual capacities; CHRISTOPHER LEE,          )
Cleveland County Department of Social Services       )
Child Protective Services social worker, in his      )
official and individual capacities; and JOHNNY       )
ANDERSON WHITE, in his individual capacity, )
                                                     )
                   Defendants.                       )
__________________________________________           )

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      This matter is before the Court on the parties’ Joint Motion for Entry of

Consent Protective Order (Doc. 108). The motion is granted, and the parties’

proposed Order is accepted, except as amended where indicated.

                                      ***

      This matter came before the court for consideration upon the joint

motion of the parties, through their respective counsel, for entry of a

Protective Order pursuant to FRCvP Rule 26(c) addressing the discovery

production, re-disclosure and use of confidential, non-public documents and

information in the context of this case.

      In light of the nature of the allegations set forth in Plaintiffs’ Amended

Complaint, the Rule 26 initial disclosures, exhibits, the discovery requests

and responses, subpoenas to third parties, depositions and trial evidence

that will be sought, produced and utilized by each of the parties in this case

will necessarily consist in large measure of information, documents and other

tangible things which are, in and of themselves, or contain or consist of

information that is confidential by virtue of state or federal law. Much

information and documentation of this sort has previously come into

possession of one or more of the Parties in the context of previous legal

proceedings as well as non-judicial proceedings, including the statutory and


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regulatory     process     of   DSS      involving    obtaining     and     safeguarding

confidentiality of protective services information whereby DSS is required to

keep social services information confidential1, but remains subject to specific

statutory and regulatory prohibitions and limitations on re-disclosure.

       The Court concludes as a matter of law upon stipulation of the Parties

that the Confidential Information is discoverable, that the Parties are entitled

to same subject to the terms of an appropriate Protective Order and that the

Parties do not object to the discovery under the terms of an appropriate

protective order with respect to the Confidential Information.

       Accordingly, it is hereby stipulated among the Parties and ORDERED

pursuant to Rule 26(c) of the Federal Rules of Civil Procedure that Plaintiffs,

Defendants and any person subject to this Order shall adhere to the following

terms:

       1.     For purposes of this Protective Order, the term "Confidential

              Information" shall refer to information and documents that a party




1 Including but not limited to 45 C.F.R. 164.512, 45 C.F.R. 303.21, 307.13, 42 USC 654(26),
10ANCAC 70A.0105, NCGS Chapter 7B, NCGS 7B-290 through 302 & 601, 45 C.F.R. 160.203(c),
10 NCAC 26B.0101 through .0304, 10A NCAC 13F.1410, 5 USC 552a, 20 C.F.R. 401.100 through
401.200, 10A NCAC 70A .0112, 10A NCAC 69.0102, 10A NCAC 69. 0201,10A NCAC 69.0202, 10A
NCAC 69.0101, NCGS 108A-80, NCGS 105-228, NCGS 8-53 et seq., and other legislative,
statutory or regulatory provisions that may apply.
                                                                                              3

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               believes in good faith to constitute personal health information 2

               including medical records, mental health records, and substance

               abuse records, DSS records3, DJJ records, juvenile records,

               school records, personal financial information, or patient names

               and identifying information within the meaning of Rule 26(c) of

               the Federal Rules of Civil Procedure.

       2.      Such Confidential Information may be contained in documents,

               written discovery responses, elicited at deposition, obtained in

               response to a subpoena to third-parties, at a hearing or at a trial,

               and designated as "CONFIDENTIAL" as set forth below. All

               documents and information containing Confidential Information

               obtained pursuant to discovery in this litigation or provided

               voluntarily shall be maintained by the receiving Parties in




2 As used in this Order, the term “protected health information” (PHI) is defined by the privacy
provisions of the Health Insurance Portability and Accountability Act of 1996, Pub. L. No. 104-
191, 110 Stat. 1936 (1996). Under HIPAA, PHI is any information held by a covered entity which
concerns health status, provision of health care, or payments for health care that can be linked
to an individual. 45 C.F.R. § 164.501. Covered entities include health care providers, health care
clearinghouses, and health plans. Id.
3 Social Services records includes any records (inclusive of information obtained in any form),

made, gathered, maintained, kept or held by the Cleveland County Department of Social
Services a/k/a the Cleveland County Department of Health and Human Services (“DSS”) that
relate to the individuals referenced and are the subject of this lawsuit. This Order does not
extend the release of any records of any individuals for whom disclosure is prohibited, who are
not the subject matter of the allegations in this lawsuit.
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        confidence and may only be used for purposes outlined in

        paragraph 11.

  3.    All documents and/or information that the Parties produce or

        information that the Parties disclose through deposition or in

        response to a subpoena or written discovery and in good faith

        specifically   designate   as   “CONFIDENTIAL”      (hereinafter

        “Confidential Information”) shall be protected from public

        disclosure, except as provided herein. Any document, file or the

        contents of which is deemed confidential shall be marked

        "CONFIDENTIAL on each page of said document or file prior to

        its production. No Party shall designate any document as

        “CONFIDENTIAL” unless that Party has a bona fide good faith

        basis to do so.

  4.    In the event of a dispute, the Party claiming that a document

        constitutes Confidential Information shall have the burden of

        demonstrating that the document constitutes Confidential

        Information.

  5.    Inadvertent production of any information, document or thing

        without it being marked Confidential shall not be deemed a

        waiver of confidentiality as to such matter, and the same may


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        thereafter be corrected, as a matter of right, by supplemental

        written notice of the designation.       All copies of any such

        information, document or thing shall thereafter promptly be

        marked by persons in possession of them with the correct

        designation and treated in accordance with this Order.

  6.    The Parties may also designate the deposition testimony of any

        witness or any reasonable portion thereof as Confidential

        Information, and such deposition testimony shall be covered by

        this Protective Order, by advising the court reporter, the witness

        and counsel for all the Parties to such fact on the record during

        the deposition or in writing within fifteen (15) days of the receipt

        of the transcript in either electronic or printed form from the court

        reporter, whether or not signed by the deponent. When

        deposition testimony is designated as Confidential, the

        transcribed testimony, the exhibits to the deposition, the court

        reporter’s recordings, if any, and any audio and /or video

        recording of the deposition or any portion thereof made by a

        retained third party videographer, an attorney or personnel

        employed by an attorney, by a party or by the witness, shall be




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        included in the designation of the deposition as Confidential

        Information.

  7.    The Confidential Information may not be disclosed except to:

        a. The attorneys and the law firms appearing in this captioned

          case on behalf of the Parties and personnel who are directly

          employed by those firms and who are assisting the attorneys

          working on this captioned case;

        b. The Court and Court personnel who have a need to read,

          review, or file Confidential Information;

        c. Any Party or officer, director, or employee of a Party to whom

          disclosure is needed to assist legal counsel in the preparation

          for, mediation of, and/or trial of this action;

        d. Any mediator who mediates the present litigation;

        e. Individuals who legal counsel for any Party reasonably and in

          good faith believes may be a witness in this litigation, but only

          to the extent such Confidential Information pertains to that

          individual or is relevant to his or her possible testimony and

          such individuals have received a copy and agreed to the be

          bound by the terms of this Protective Order as shown by their




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           signature on the Agreement to be Bound by Protective Order,

           Exhibit A to this Order;

        f. Retained or consulted experts of any kind, to the extent such

           persons have been advised of and have agreed to the terms

           of this Order as shown by their signature on the Agreement to

           be Bound by Protective Order, Exhibit A to this Order;

        g. Public agencies, including law enforcement agencies and

           officials, to the extent such persons have been advised of and

           have agreed to the terms of this Protective Order.

  8.    This Protective Order shall not be interpreted or construed so as

        to prevent an attorney from showing a deponent a document

        during a deposition for the purposes of refreshing the deponent’s

        memory, impeachment, or asking questions related to the

        document, or admitting a document as a deposition exhibit.

  9.    Before counsel for any Party discloses any Confidential

        Information to any party, witness, consultant, or litigation support

        person, counsel for the Party (1) shall ensure that the recipient

        reads this Protective Order, and (2) shall obtain the agreement

        of the recipient to be bound by the terms of this Protective Order,

        which agreement shall be evidenced by the signature of the


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        witness on a copy of the form attached hereto as "Exhibit A."

        Counsel for the Party shall maintain the original of the signed

        statement, shall keep a listing of all individuals to whom the Party

        has provided the Confidential Information, and will provide the

        listing as may be ordered by the Court.

  10.   All persons, including the Parties, their attorneys, their office

        personnel and assistants, and all experts/professionals retained

        by counsel for the Parties shall not disclose, or reveal, or in any

        manner, disseminate or otherwise use any of the Confidential

        information contained therein, except as allowed by this Consent

        Protective Order.

  11.   The persons identified in Paragraph 7 above shall use the

        Confidential Information and any information contained therein

        only for the following purposes:

        a. Preparation of discovery

        b. Providing discovery

        c. Litigating this case

        d. Appeals related to this case

        e. such other use as may be specifically agreed upon by the

           Parties and authorized by the Court in this litigation; and not


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           in any other litigation in any manner whatsoever nor for any

           other business, personal, competitive, governmental or other

           purposes or reasons, and the persons identified in Paragraph

           4 shall not disclose, provide or produce such Confidential

           information or any portion thereof to any other entity, person

           or persons, except as expressly permitted by this Consent

           Protective Order or ordered by the Court.

        f. Notwithstanding paragraph 11 and all subsections to

           paragraph 11, this Protective Order shall not be interpreted or

           construed to authorize or to preclude Plaintiffs and/or any

           attorneys hired by Plaintiffs from using confidential documents

           and information obtained by way of discovery in this case for

           the purpose of litigating Plaintiffs’ pending case before the NC

           Industrial Commission case number TA-27844.

  12.   Any Confidential Information which is admitted into evidence in

        this matter at any hearing or trial or included as an exhibit to any

        deposition shall not lose its protection under this Consent

        Protective Order, unless so ordered by the Court.

  13.   The Parties shall not be obligated to challenge the propriety of a

        designation of Confidential Information at the time such


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        designation is made, and a failure to provide any such challenge

        shall not preclude a subsequent challenge to such designation.

        The Parties may move the Court, upon notice, to limit, remove,

        or challenge the designation of Confidential Information with

        respect to any specified document, testimony, or any other thing

        or any portion thereof. The Parties shall attempt to resolve in

        good faith any dispute about the confidentiality of information or

        its use before seeking resolution by the Court. The designation

        of confidentiality shall not be read as a stipulation or agreement

        by any Party as to the admissibility or nature of any particular

        evidence at trial.

  14.   Confidential Information developed, revealed by, or included in

        any discovery proceedings, formal or informal, whether in the

        form of deposition transcripts, interrogatory answers, or

        document production need not be filed except when required in

        connection with matters pending before this Court. If documents

        containing, summarizing, or referring to Confidential Information

        are filed, they shall be filed under seal. The party seeking to file

        such Confidential Information shall notify the party that

        designated the information as Confidential in writing and


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        describe the specific documents that are requested to be filed.

        Then the party that designated the information as Confidential

        shall take the necessary steps with the Clerk of Court to see that

        the Confidential documents are sealed according to the Clerk’s

        procedures.    To the extent any party seeks leave to file

        Confidential Information with the Court under seal, such request

        shall be made in conformity with the Local Rules of this district,

        including Local Civil Rule 6.1.

  15.   By the disclosure of any information by Cleveland County, DSS

        or its employees or agents pursuant to this Order, which

        information may be deemed confidential, such disclosing

        persons are protected from any breach or violation for such

        release that might otherwise arise under county rules, or any

        state and federal laws or regulations for disclosure, and DSS is

        absolved from any notification requirements related to the

        protected disclosure of information within the confines of this

        Protective Order. This Order is deemed sufficient to waive any

        written consent requirements that may be required by law before

        Cleveland County and its DSS may release any information

        pursuant to this Order.


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     16.   The Parties shall be responsible for the security of documents

           and information provided to them and subject to this Protective

           Order.

     17.   This Protective Order shall continue to be binding after the

           conclusion of the litigation, and this Court reserves jurisdiction

           over all persons to whom such information was disclosed for

           purposes of enforcing it.

     18.   In the event that circumstances change or the terms of

           confidentiality are not sufficient, any Party may seek an

           amendment to this Protective Order. The Parties shall attempt to

           resolve in good faith any proposed amendment to the Protective

           Order pertaining to the treatment and/or the confidentiality of

           information, or its use, in an attempt to reach a compromise

           before seeking a formal resolution by the Court.

                       CONSENT TO DISCLOSURE

     Inasmuch as the DSS information, DJJ records, PHI, school records

and other information, including medical/mental health records already in the

possession of DSS and DJJ, do or may contain private and confidential

information of Parties to this lawsuit (Leslie Kline, Jeffrey Kline, Johnny

White, JTW (a minor by and through his parents) except as set forth in “a”

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below), and non-party ACW (a minor for whom parental consent is given),

consent to disclosure is deemed given through counsel for those parties.

           a. As to JTW (a minor who reaches the age of majority within the

              coming weeks) as to the release of any protected health

              information or personal medical information that is not already

              in the possession of DSS and DJJ, either JTW’s signature

              consenting to release of his confidential and private

              information is required prior to disclosure, or notice and

              opportunity to be heard;

           b. As to non-parties:

              1) Karin White consents to the release of Confidential

                 Information pertaining to her that is contained in the DSS

                 and DJJ files pursuant to the conditions of this Protective

                 Order for use in this case only subject to this protective

                 order; and

              2) Bryan Andrew White consents to the release of

                 Confidential Information regarding him that is in the

                 possession of DSS and DJJ in this case only for use

                 subject to this Protective Order. However, as to Bryan

                 White’s protected health information and personal medical

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              information not already in the possession DSS and DJJ

              records, either Bryan White’s signature consenting to

              release of his personal health information and medical

              information is required prior to disclosure, or notice and

              opportunity to be heard.




                           Signed: November 5, 2020




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                                  Exhibit A


        AGREEMENT TO BE BOUND BY PROTECTIVE ORDER


I hereby acknowledge and I have read the foregoing Consent Protective
Order (the “Order”) entered in the action entitled, Leslie Kline, on her own
behalf and on behalf of B.A.W. And J.T.W., Minors, and Jeffery A. Kline,
Plaintiffs v. Cleveland County, a Local Government Entity, et al in the
United States District Court For The Western District Of North Carolina,
Case Number 1:19cv 197, that I understand the terms thereof, and that I
agree to be bound by those terms. In particular, I will use any Confidential
Information I receive solely for the purposes set forth in the protective
order. I will not disclose any Confidential Information except as authorized
in the Protective Order. I understand that I may be subject to contempt for
willfully violating this Order and will be subject to the jurisdiction of the
Court in which this action is pending for the purpose of proceedings to
enforce that Order.




                                                         Signature
                                                _______________________
                                                Printed Name


Date: __________




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